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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                                                    Case No. 09-20238

D-1, TERRENCE PRITCHETT,                                            HON. AVERN COHN

                Defendant.
_____________________________/


                              ORDER
   DENYING DEFENDANT’S MOTION TO SUPPRESS EVIDENCE (Doc. No. 37)
                               AND
DENYING DEFENDANT’S MOTION TO DISMISS CONSPIRACY CHARGE (Doc. No. 38)

      This is a criminal case. Defendant is charged with conspiracy to possess with

intent to distribute controlled substances, in violation of 21 U.S.C. § 846. Defendant has

plead not guilty. Before the Court are the following motions:

      •      Defendant’s Motion to Suppress Evidence (at 452 Anderson)

      •      Defendant’s Motion to Dismiss Conspiracy Charge

      •      Defendant’s Motion to Suppress Evidence Seized at 390 Columbia

      For the reasons stated on the record at the hearing on April 15, 2010,

Defendant’s Motion to Suppress Evidence (at 452 Anderson) (Doc. No. 37) and

Defendant’s Motion to Dismiss Conspiracy Charge (Doc. No. 38) are DENIED.
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       Defendant’s Motion to Suppress Evidence Seized at 390 Columbia (Doc. No. 39)

will be the subject of a separate order.

       SO ORDERED.



                                            s/Avern Cohn
                                           AVERN COHN
                                           UNITED STATES DISTRICT JUDGE


Dated: April 15, 2010


I hereby certify that a copy of the foregoing document was mailed to the attorneys of
record on this date, April 15, 2010, by electronic and/or ordinary mail.


                                            s/Julie Owens
                                           Case Manager, (313) 234-5160




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